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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FRANCIS J. BUTTA                                    CIVIL ACTION

                      v.                            NO. 19-675

GEICO CASUALTY COMPANY


                                             ORDER
        AND NOW, this 13 th day of September 2019, upon considering Plaintiffs Motion to

amend (ECF Doc. No. 71) our April 17, 2019 Order (ECF Doc. No. 17) solely for leave to file a

second Motion for class certification, Defendant's Opposition (ECF Doc. No. 72), and for good

cause consistent with our obligation to resolve matters on the merits, it is ORDERED Plaintiffs

Motion to amend (ECF Doc. No. 71) is GRANTED in part and we amend our April 17, 2019

Order (ECF Doc. No. 17) only:

        1.     Plaintiff may move for class certification under Rule 23(b)(3) and 23(c)(4) no

later than September 19, 2019 with response filed no later than October 3, 2019; and,

        2.     If the case is not certified after Phase 1 but proceeds beyond summary judgment

on Plaintiffs claims, we will set a scheduling conference to address pre-trial steps necessary to

try a three-day jury trial beginning January 13, 2020 in Courtroom 6B. 1




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  After presumably studying the possibility of certifying a Rule 23(b)(3) class before moving for
class certification, Plaintiff appears to have changed his theories based, in part, on our discussion
at the August 29, 2019 oral argument. Plaintiff then withdrew his request to certify a class under
Rule 23(b)(2). Plaintiff has had more than enough time to study and prepare a motion to certify,
if he wishes to do so, under Rule 23(b)(3). We are also mindful of the Defendant's ability to
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address the individual claims should we not certify a class. We must, in fairness to the parties'
abilities to address certification, allow a brief continuance of Mr. Butta's trial should the case not
be certified. No other prospective obligations under our April 17, 2019 Order (ECF Doc. No.
17) are affected.




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